      Case 4:20-cv-03120 Document 26 Filed on 02/09/21 in TXSD Page 1 of 16
                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                    IN THE UNITED STATES DISTRICT COURT                    February 09, 2021
                     FOR THE SOUTHERN DISTRICT OF TEXAS                    Nathan Ochsner, Clerk
                              HOUSTON DIVISION



AMBER WATKINS,                            §
                                          §
                    Plaintiff,            §
                                          §
V.                                        §
                                          §        CIVIL ACTION NO. H-20-3120
PRAETORIAN INSURANCE CO.,                 §
SEDGWICK CLAIMS MANAGEMENT                §
SERVICES, INC., and                       §
CAMILLE BROWN,                            §
                                          §
                    Defendants.           §



                         MEMORANDUM OPINION AND ORDER


        Plaintiff Amber Watkins          ("Plaintiff")       fi_led suit against

defendant      Camille     Brown    in    the     157th     District     Court          of

Harris County, Texas, on July 24, 2020, alleging that Brown had

aided and abetted         Praetorian     Insurance     Co.     ("Praetorian")           in

breaching its duty of good faith and fair dealing in handling her

claim for benefits. 1        On August 7, 2020, Plaintiff filed her First

Amended Original Petition ("Amended Petition") adding Praetorian

and     Sedgwick    Claims     Management       Services,     Inc.     ("Sedgwick")

(collectively,      "Defendants")    as defendants.2          Defendants timely


      Notice of Removal, Docket Entry No. 1, p. 1 1 l; Plaintiff's
        1

Original Petition & Jury Demand ("Original Petition") , Exhibit C to
Notice of Removal, Docket Entry No. 1-3, pp. 1, 5.         All page
numbers for docket entries in the record refer to the pagination
inserted at the top of the page by the court's electronic filing
system, CM/ECF.
      Notice of Removal, Docket Entry No. 1, pp. 1-2, 1 2; Amended
       2

Petition, Exhibit C to Notice of Removal, Docket Entry No. 1-3,
p. 9.
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removed based on diversity jurisdiction, arguing that Brown was

improperly joined. 3        Pending before the court is Plaintiff's Motion
to Remand (Docket Entry No. 4).          Defendants Brown and Sedgwick have
also filed a Motion to Dismiss Under Federal Rule of Procedure
12 (b) (6) ( "Brown and Sedgwick's Motion to Dismiss") (Docket Entry

No. 2).        The court must rule on Plaintiff's Motion to Remand before
considering Brown and Sedgwick's Motion to Dismiss because a
district court should not rule on the merits of a case without
first        determining    that   it   has   subject-matter   jurisdiction.
Sinochem International Co. Ltd. v. Malaysia International Shipping
Corp., 127 S. Ct. 1184, 1191 (2007)
        For the reasons stated below, the Motion to Remand will be

granted.        The case will be remanded to the 157th District Court of
Harris County, Texas.


                     I.    Facts and Procedural Background

        Plaintiff states that she met Rucie Moore in 2005 and that the
two of them lived together for years in Alabama, where they held
themselves out as a married couple. 4         Rucie Moore died on April 16,
2019.5        Plaintiff states and Defendants do not dispute that Moore

        3
            Notice of Removal, Docket Entry No. 1, p. 3 � B.
     4
      Declaration of Amber Watkins, Exhibit 2 to Reply in Support
of Plaintiff's Motion to Remand ("Plaintiff's Reply"), Docket Entry
No. 13-1, p. 1 � 2.
     5
      Certificate of Death, Exhibit A to Motion to Dismiss for Lack
of Standing Under Federal Rules of Civil Procedure 12 (b) (1), (6)
("Sedgwick and Praetorian's Motion to Dismiss") , Docket Entry
No. 9-1, p. 10 � 3.
                                        -2-
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was a test pilot for XP Services, Inc. and that his death was

caused by a helicopter crash in the course and scope of his
employment. 6      At the time of his death Moore resided and worked in

Arizona.7         Praetorian is the worker's      compensation     insurance

carrier for XP Services, Inc. 8

        On or about May 22, 2019, the Industrial Commission of Arizona
("ICA") notified Praetorian that Plaintiff had filed a Claim for

Dependent's Benefits in connection with Moore's death. 9 Praetorian

assigned Sedgwick as the third-party administrator of the claim,
and Sedgwick and Praetorian together assigned Brown as the claims
adjuster. 10
        On May 15, 2019, Plaintiff told Brown in an interview ·that she
and Moore "were never officially married," but that she and Moore
had been together for 14 years, lived together, and "both wear a



      Amended Petition, Exhibit C to Notice of Removal, Do,:ket
        6

Entry No. 1-3, p. 11 � 5.2; see also Affidavit of Christopher S.
Norton, Exhibit A to Sedgwick and Praetorian's Motion to Dismiss,
Docket Entry No. 9-1, p. 1 1 4 ("XP .Services was Moore's employer
at the time of his death[.]").
        7
            Brown and Sedgwick's Motion to Dismiss, Docket Entry No. 2,
p. 1.
      Amended Petition, Exhibit C to Notice of Remo·./al, Docket
        8

Entry No. 1-3, p. 14 � 6.3.
      Notification of Claim for Dependertt's Benefits - Fatality,
        9

Exhibit A to Sedgwick and Praetorian's Motion to Dismiss, Docket
Entry No. 9-1, p. 4.
      original Petition, Exhibit C to Notice of Removal, Docket
        10

Entry No. 1-3, p. 3 1 5.2.
                                     -3-
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ring. " 11    On May 23, 2019, Brown asserted in a.n en�3.il to Plaintiff

that Alabama no longer recognized common-law marriage. 12                                       On or

about June 18, 2019, Brown submitted, for and with the app:::-oval of

Praetorian, a denial of Plaintiff's status as a valid beneficiary

on the grounds that she and Moore "were never married." 13

      On     August   1,   2019,   Moore's       employer            sent        an      email         to

Praetorian on Plaintiff's behalf stating that Moore and Plaintiff's

relationship met all the requirements of common-law marriage in

Alabama. 14    Brown replied to the ema_il on August 15, 2019, rejecting

the employer's request for reconsideration. 15                     On October 28, 2019,

an Arizona state court granted Plaintiff's motion to amend Moore's

death certificate and found that Moore and Plaintiff "were Commo_n­

Law Husband and Wife in the State of Alabama, beg·inning in 2006. ,-u

Brown did not withdraw or change her denial of Plaintiff's claim.

      On July 24, 2020, Plaintiff filed suit againet Brown in Texas

state court alleging that Brown had aided and abetted Praetori2.n in


      Exhibit A to Sedgwick and Praetorian' s Motion to Dismiss,
      11
Docket Entry No. 9-1, p. 34 �1 59-66.

      Email from Camille Brown, Exhibit 2A to Plaintiff's Reply,
      12

Docket Entry No. 13-1, p. 5.

      Notice of Claim Status,
      13
                                   Exhibit A to Sedgwick and
Praetorian's Motion to Dismiss, Docket Entry No. 9-1, p. :9 111.

      Email from· Kerin Dodd,
      14
                                      Ex:':"l.ibit "'-'r;b tu- . pl-L.�---.
                                                                      ::: -int;
                                                                             ----ff' s R•,._=-p. · 1,r
                                                                                                    . .1 I
Docket Entry No . 13-1, p. 7.

      Email from Camille Brown, Exhibit 2d to Plaintiff' r; · Reply,
      15

Docket Entry No. 13-1, p. 10.

      Hearing on. Motion to Amend Death Certific2.te, Exhibit C to
      16

Notice cf Removal, Docket Entry No. 1-3, p.· 24;

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breaching its. duty of good faith and fair dealin:J iri handling her

claim for benefits . 17         On August 7, 2020, Plaintiff filed the

Amended Petition adding· Praetorian and· Sedgwick as defend2.,nts. 18
     Plaintiff        alleges   that    Defendants   failed       to   conduct   a
reasonable investigation of her claim, failed "to timely recognize
and acknowledge the nature and extent of Mr. Moore's compensable

injury,"     failed to accept          "the undisputed evidence         iegarding
Ms. Watkins' claim," created "pretextual reasons to deny and/or
delay payment of Ms. Watkins' claim," and· ref .1sed to ccmsider
                                                              1




information favorable to Plaintiff's claim. 19         Plaintiff notes �hat
Defendants "continued to refuse payments even after Mr. Moore's and
Ms. Watkins' marriage was fully confirmed by Judge David Ma.ckey of
the Superior Court of the State of Arizona [.]         1120



     Plaintiff alleges that Praetorian specifically breached its
duty of good faith and fair dealing under Arizona law by "relying
on Defendant Brown's unreasonable ir:i.vestigation and impropej:- delays
of payments for benefits, without any reasonable basis to do so." 21



      Notice of Removal, Docket Entry No, 1, p. 1 1 l; Original
     17

Petition, Exhibit C to Notice of Removal, Docket Entry No. 1-3,
pp. 1, _ 5.
     18
       Notice of Removal, Docket Entry No. 1, pp. 1-2, � 2; �mended
Petiti'on, Exhibit C to Notice of Removal, Docket Entry No. 1-3,
p. 9.
      Amended Petition, Exhibit C to Notice of Removal, Dock"=t
     19

Entry No. 1-3, pp. 12-13 � 5.6.
     20
          Id. at 12   1 5.4.
     21
          Id. at 14   1 6.3.
                                        -5-
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Plaintiff alleges that Praetorian "knew or should have known that

there was no reasonable basis for denying or delaying the required
benefits." 22
     Plaintiff alleges that Brown "knew that, after an adequate
investigation, Ms. Watkins' claim was not fairly debatable, that

Sedgwick and Praetorian delayed and denied Ms. Watkins'                                claim
without any reasonable basis, and that Sedgwick and Praetorian knew
or recklessly disregarded this lack of a reasonable basis to delay
and deny Ms. Watkins'                  claim." 23     Plaintiff alleges that Brown
"substantially assisted or encouraged Sedgwick and Praetorian in
delaying or denying" Plaintiff's claim,                     and aided and abetted
Praetorian's breach of its duty of good faith.24
     Plaintiff states that she is a citizen of Arizona.25 Plaintiff
acknowledges           that      Praetorian     and    Sedgwick   are       both     foreign

corporations, 26 and that Brown is a Texas resident. 27                            Plaintiff

argues that under 28 U.S.C.               §   144l(b), the case is non-removable.28
Defendants timely removed based on diversity jurisdiction29 arguing


     22Id.
     2 3r
            d. at 18         1 8.4.
     24Id        1 8. 5
          .
     2 sr
            d. at 10         1 3 .1.
     26Id.       11 3.2, 3. 3.
     27I
            d.   1 3.4.
     2 ai
            d.   1   4 .1.
     29Notice of Removal, Docket Entry No. 1, p. 2                      1   6.
                                               -6-
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that under Arizona law Brown was improperly joined.30                           Defendants

filed their Response to Plaintiff's Motion to Remand ("Defendants'

Response n ) (Docket Entry No. 11) on September 29, 2020.                           Plaintiff

filed her Reply (Docket Entry No. 13) on October 6, 2020.


                                  II.   Standard of Review

       Under 28 U.S.C. § 144l{a) any state court civil action over

which a federal court would have original jurisdiction may be

removed from state to federal court.                 Th e c o u r t c a n p r o p e r l y

exercise jurisdiction on the basis of diversity of citizenship

after removal only if three requirements are met:                           (1) the parties

are of completely diverse citizenship, see 28 U.S.C. § 1332(a);

(2) the amount             in controversy exceeds            $ 75, O O O,    see id.;    and

(3) none of the properly joined defendants is a citizen of the

state in which the case is brought, see 28 U.S.C. § 144l(b) (2).

The removing party bears the burden of demonstrating that removal

is proper.        Gasch v. Hartford Accident             &   Indemnity Co., 491 F.3d

278, 281 (5th Cir. 2007).

       Jurisdictional facts must be judged as of the time of the

filing of the state court petition.                 White v. FCI USA, Inc., 319

F.3d    672,     674       (5th    Cir.   2003)   (per       curiam).         All    factual

allegations are evaluated in the light most f3.vorable to the

plaintiff.        Guillory v. PPG Industries, Inc., 434 F.3d 303, 308

(5th Cir. 2005).            "Any ambiguities are construed against removal


       30
            Id. at 3   1   B.
                                            -7-
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because the removal statute should be strictly construed in favor

of remand."   Manguno v. Prudential Property and Casualty Ins. Co.,
276 F.3d 720, 723 (5th Cir. 2002).
     There are two ways to establish improper joinder:          " ( 1) actual
fraud in the pleading of jurisdictional facts, or (2) the inability
of the plaintiff to establish a cause of action ag�inst th� non­

diverse party in state cc:iurt."    Guillory, 434 F.3d at 308 (quoting
Smallwood v. Illinois Central Railroad Co., 385 F.3d 568, 573 (5th
Cir. 2004) (en bane), cert. denied, 125 S. Ct. 1825 (2005)). When,
as here, the removing party seeks to establish improper joinder on

the second ground, the court must determine "'whether the defendant
has demonstrated that there is no possibility of recovery by the

plaintiff against the in-state defendant, which stated differently
means that there is no reasonable basis for the district court to
predict that the plaintiff might be able to recover against an
in-state defendant.'"     Id.   The court does not determine whether
the plaintiff will actually or even probably prevail on the merits
of the claim, but looks only for a possibility that the plaintiff

might do so. Id. at 309 (citing Dodson v. Spiliada Maritime Corp.,
951 F.2d 40, 42 (5th Cir. 1992)).        Any ambiguity in the facts or

state law are resolved in favor of remand.              Allen v. Walmart
Stores, L.L.C., 907 F.3d 170, 183 (5th Cir. 2018)          (quoting Gasch,
491 F.3d at 281).
     A "mere theoretical possibility of recovery under local law"
will not preclude a finding of improper joinder.           Smallwood, 385

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F.3d at 573 n.9.    "[W]hether the plaintiff has stated a valid state

law_ cause of action depends upon and is tied to the factual fit
between the plaintiffs'      allegations and the pleaded theory of
recovery."     Griggs v.. State Farm Lloyds, 181 F.3d 694, 701 (5th
Cir. 1999).    "Accordingly, to determine whether an in-state or non­
diverse defendant was properly joined, '[t]he court may conduct a
Rule 12(b)(6)-type analysis, looking initially at the allegations
of the complaint to determine whether the complaint states a claim
under state law against the               defendant."     Alviar v. Lillard,

854 F.3d 286, 289 (5th Cir. 2017). (quoting Smallwood, 385 F.3d. at
573).
        To survive a Rule 12(b)(6) motion, a complaint "must contain

sufficient factual matter, accepted as true, to 'state a claim for

relief that is plausible on its face.'"           Ashcroft v. Igbal, 129
S. Ct. 1937, 1949 (2009) (quoting Bell Atlantic Corp. v. Twcmbly,

127 S. Ct. 1955,      1974 (2007)).         " [TJ he plaintiff must plead
'specific facts, not mere conclusory allegations' to state a cJ.aim

for relief that is facia.lly plausible."                Powe.rs v. Ncrthside

Independent School District, 951 F.3d 298, 305 (5th Cir. 2020)
(quoting Tuchman v. DSC Communications Corp., 14 F.3d 1061, 1067
(5th Cir. 1994)).
        "A claim has facial plausibility when the plaintiff pleads
factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misc-:mduct alleged."
Jqbal, 129 S. Ct. at 1949.       The factual allegations need not be

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detailed, but they must be enough to raise a right to relief above

the speculative level,      assuming all the allegations are true.
Twombly,   127   S.   Ct.   at   1959.       Federal   courts   considering
Rule 12 (b) (6) motions view the well-pleaded facts in the light most
favorable to the nonmoving party. Calogero v. Shows, Cali          &   Walsh,

L.L.P., 970 F.3d 576, 580 (5th Cir. 2020) (citing Turbomeca, S.A.
v. Era Helicopters, LLC, 536 F.3d 351, 354 (5th Cir. 2008)).


                             III.   Analysis

     To prevail on a claim of aiding and abetting against Brown
under Arizona law Plaintiff must show:          (1) the primary tortfeasor
(Praetorian) committed a tort that caused injury to Plaintiff;
(2) Brown knew that Praetorian's conduct constituted a breach of
duty; and (3) Brown substantially assisted or encouraged Praetorian
in the achievement of the breach.          See Wells Fargo Bank v. Arizona
Laborers, Teamsters and Cement Masons Local No. 395 Pension Trust
Fund, 201 Ariz. 474, 485 (2002).
     Defendants argue that Brown is improperly joined because:
     there is no separate conduct encouraging or substantially
     assisting the alleged tort, since the alleged tort and
     the conduct[] allegedly •aiding and abetting" the tort
     are exactly the same. Plaintiff is arguing th[at] Brown
     aided and abetted her own wrongful conduct, which is not
     possible and cannot be the basis of aiding and abetting
     liability.
Notice of Removal, Docket Entry No. 1, p. 6 � 17.
     Defendants . assert that in Arizona "an aiding and abetting
cause of action cannot be maintained against an individual adjuster

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if there is no separate wrongful conduct 'substantially assisting'

the alleged tort." 31     Plaintiff responds that courts "have reached
divergent     results    when addressing     this   issue,"   and that the
question "is unsettled under Arizona law." 32

     Defendants rely on Kubli v. AmTrust Insurance Co. of Kansas,

CV-18-02053-PHX-JGZ        (MSD),    2019    U.S.    Dist.    LEXIS    189149
(October 30, 2019).33      The plaintiff in that case alleged that an
individual adjuster had failed to properly investigate his worker's
compensation claim.       Id. at *2.     He sued his insurer for bad faith
and sued the adjuster for aiding and abetting. Id. The magistrate

judge recommended that the action be dismissed, holding that "if a

bad-faith claim against the insurer is predicated entirely on the
adjuster's conduct, a separate claim that the adjuster's same
conduct aided and abetted the insurer's bad faith will not lie."
Id. at *5 (emphasis in original). The parties in Kubli settled and
stipulated to dismiss the case.             Stipulation of Dismissal by

AmTrust      Insurance   Company    of   Kansas,    AmTrust   North   America
Incorporated, Pam Greer, Kubli, 2019 U.S. Dist. LEXIS 189149
(January 10, 2020). The district court dismissed the case pursuant
to the parties' stipulation before the magistrate's recommendation


     31
          Notice of Removal, Docket Entry No. 1, pp. 6-7 � 18.
     32
          Plaintiff's Motion to Remand, Docket Entry No. 4, p. 8.
     33
          Notice of Removal, Docket Entry No. 1, pp. 6-8 �� 18-20.
                                     -11-
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was adopted.   Order Pursuant to 58 Stipulation of Dismissal, Kubli,

2019 U.S. Dist. LEXIS 189149 (January 16, 2020). Nevertheless, the

reasoning in Kubli supports Defendants' principal argument for

removal.

     But in Lipsky v. Safety National Casualty Corp., No. 1-CA-CV

15-0337, 2017 WL 443525, at *7 (Ariz. Ct. App. Feb. 2, 2017), the

Arizona Court of Appeals determined that a claim against adjusters

for aiding and abetting an insurer's bad faith should go to a jury,

even though the bad faith claim was "founded on the conduct of" the

claims administrator and adjuster acting in the course of their

duties to the insured.     Similarly, in Temple v. Hartford Insurance

Co. of Midwest, 40 F. Supp. 3d 1156, 1170 (D. Ariz. 2014), the

Arizona District Court held that "[a]n agent can be held liable for

aiding and abetting an insurer's violations of the duty of good

faith and fair dealing," and "aiding and abetting is not barred

simply because a person worked for the alleged primary tortfeasor

and was acting within the scope of her employment."

     The Kubli court explicitly disagreed with Lipsky, stating that

"the Lipsky court provided no reasons supporting its conclusions;

consequently, it is not persuasive."        Kubli, 2019 U.S. Dist. LEXIS

189149 at *11.       It also held that the Temple court had not

sufficiently addressed an important argument, and thus found Temple

unpersuasive as well.      Id. at *13.


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     Yet Lipsky and Temple remain good law.        These cases represent
a split in authority that other courts have noted.              See r e.g.   I



Demott v. LM Insurance Corp., Civil Action No. 3:14-0867-G, 2014
WL 3673037,   at *4   (N.D.   Tex. July 24,     2014) · ("Arizona law is
unsettled on the issue of whether an insurance adjuster can be

liable for aiding and abetting.") (citing examples on either side
of the split).    The Arizona District court has itself noted the
split:

     This Court has been presented with motions seeking
     dismissal of aiding and abetting claims brought against
     adjusters numerous times in the last ten years. In all
     of the cases, the actions of the adjuster significantly
     (if not entirely) overlapped with the actions alleged as
     the basis for the bad faith claim against the insurer.
     Despite the factual similarity in the cases, the Court
     found the facts were sufficient to state a claim for
     aiding and abetting only about half the time. The cases
     dismissing the aiding and abetting claim found a separate
     tortious act by the adjuster was necessary and had not
     been pled; the cases allowing the aiding and abetting
     claim determined that pleading the elements of aiding and
     abetting by the adjuster was sufficient without
     identifying two distinct tortious acts.
Chukly v. American Family Mutual Insurance Co., No. CV-17-0088-TUC-
RCC (LCK), 2017 WL 5952759, at *3 (D. Ariz. June 7, 2017).
     Arizona law is ambiguous on the question of whether a claim
can be brought against an individual adjuster for aiding and
abetting an insurer's breach of the duty of good faith.          The court
must resolve ambiguities in state law in favor of remand.                  See
Allen, 907 F.3d at 183.       Even if Plaintiff had not alleged any
separate conduct by Brown that substantially assisted Praetorian's


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alleged bad faith, there would still be a reasonable basis for the

district court to predict that Plaintiff might be able to recover

against Brown for aiding and abetting.        See Guillory, 434 F.3d at

308.

       Moreover, the court does not agree that Praetorian's alleged

breach of its duty of good faith is predicated solely on Brown's

alleged conduct.        Plaintiff's Amended Petition makes clear that

"Praetorian's liability is based on its own actions, including

relying on an unreasonable evaluation and investigation, permitting

Defendant Brown to improperly delay payment on Ms. Watkins' claim

with no reasonable basis." 34        The same section of the Amended

Petition emphasizes that under A.R.S.           §   23-963-0l(B),    "[a]ny

compensable claim for benefits shall be paid by the carrier." 35

       In Gastelo v. Wesco Insurance Co., No. CV-18-02659-PHX-MTL,

2020 WL 1285912, at *3 (D. Ariz. March 18, 2020), a claims adjuster

sought to dismiss the aiding-and-abetting suit against her because

the complaint rested the insurance company's alleged misconduct

solely on the adjuster's conduct in handling the plaintiff's claim.

But the court found that the plaintiff's complaint "[did] allege

independent liability against [the insurer] for breach of the duty

of good faith and fair dealing and punitive .damages," because the



      Amended Petition, Exhibit C to Notice of Removal, Docket
       34

Entry No. 1-3, p. 14 1 6.4.
       35
            Id. at 15 (emphasis in Amended Petition).
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complaint alleged that the insurer breached its duty to pay
legitimate claims when it did not timely approve the plaintiff's

injury claim and pay his benefits.           Id.     The insurer had the duty
to make payments,         its agent      (the adjuster)     had the requisite
scienter,      and through her actions and inaction she provided

substantial assistance or encouragement for the insurer's alleged
breach.             The court thus held that the complaint set forth
distinct allegations against the adjuster that were consistent with
the aiding and abetting cause of action.              Id.
        The allegations in the Amended Petition state a claim much
like the one that survived dismissal in Gastelo.               Plaintiff alleges
(1)    that Praetorian breached its duty of good faith and fair
dealing by refusing to issue payments owed to Plaintiff and
(2) that Brown, knowing that Praetorian owed this duty, continued
to deny Plaintiff's compensable claim.             Plaintiff has thus pleaded
that      Brown,    through     action     and     inaction,     knowingly     and
substantially assisted Praetorian in breaching its duty to pay
Plaintiff's claim.       These allegations are consistent with an aiding
and abetting cause of action.


                          IV.   Conclusion and Order

        For the reasons explained above, the court finds that there
is a reasonable basis to predict that Plaintiff might be able to
recover against Brown.          Accordingly, the court cannot agree that
Brown was improperly joined in this action.

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       Plaintiff's Motion to Remand (Docket Entry Nd. 4) is GRANTED.

This    action   is   REMANDED   to   the   157th    District    Court     of

Harris County, Texas.

       The Clerk of this court will provide a copy of this Memorandum

Opinion and Order to the District Clerk of Harris County, Texas.

       SIGNED at Houston, Texas, on this 9th day of February, 2021.




                                      SENIOR UNITED STATES DISTRICT JUDGE




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